            Case 1:19-cr-00147-RC Document 8 Filed 03/29/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                        Case No. 19-CR-00147 (RC)

 v.
                                                      Hearing Date: 3/30/2021
 MUN CHOL MYONG,
       Defendant.


                                JOINT MOTION TO CONTINUE

       The parties in this matter are jointly requesting a continuance of the hearing scheduled for

March 30, 2021. On March 22, 2021, the defendant, Mun Chol Myong, was presented before

Magistrate Judge G. Michael Harvey, and the United States sought detention. Defense counsel

requested to continue the detention hearing until April 5, 2021. The Court also scheduled a status

before this Court on March 30, 2021.

       The parties remain in discussion regarding the evidence in this matter, and additional time

is needed to have further discussion, particularly in advance of any detention hearing. To that end,

the parties believe that continuing the status date hearing before this Court would be in the interests

of all parties and the Court.

       The parties have conferred about a possible new date and are requesting a status date after

April 12, 2021.




                                                  1
Case 1:19-cr-00147-RC Document 8 Filed 03/29/21 Page 2 of 2



                           Respectfully submitted,

                           CHANNING D. PHILLIPS
                           United States Attorney
                           D.C. Bar No. 415793



                     By:                   /s/
                           Tejpal S. Chawla
                           D.C. Bar. No. 464012
                           Michael P. Grady
                           DC Bar No. 492947
                           Assistant United States Attorneys
                           555 4th Street, N.W.
                           Washington, D.C. 20530
                           202-252-7280 (Chawla)
                           202-252-7649 (Grady)
                           Tejpal.Chawla@usdoj.gov
                            Michael.Grady3@usdoj.gov


                                         /s/ _________________
                           Shelli Peterson
                           D.C. Bar No. 438930
                           Office of the Federal Public Defender
                           625 Indiana Ave., N.W.
                           Washington, D.C. 20004
                           202-208-7500
                           Shelli_Peterson@fd.org




                              2
